                     Case 3:22-cv-03580-WHO Document 36 Filed 08/10/22 Page 1 of 3


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          12     Attorneys for Defendant Meta Platforms, Inc.
                 (formerly known as Facebook, Inc.)
          13

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          15
                                              UNITED STATES DISTRICT COURT
          16
                                           NORTHERN DISTRICT OF CALIFORNIA
          17
                                                  SAN FRANCISCO DIVISION
          18

          19
                 JOHN DOE,                                      Case No. 3:22-cv-3580-WHO
          20
                                     Plaintiff,                 STIPULATION TO EXTEND TIME FOR
          21                                                    DEFENDANT META PLATFORMS, INC. TO
                       v.                                       RESPOND TO PLAINTIFFS’ AMENDED
          22                                                    COMPLAINT
                 META PLATFORMS, INC.,
          23                                                    Action Filed: June 17, 2022
                                     Defendant.
          24                                                    Honorable Judge William H. Orrick
          25

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Gibson, Dunn &       STIPULATION TO EXTEND TIME FOR DEFENDANT META PLATFORMS, INC. TO RESPOND TO
Crutcher LLP
                                            PLAINTIFFS’ AMENDED COMPLAINT
                                               CASE NO. 3:22-CV-03580-WHO
           Case 3:22-cv-03580-WHO Document 36 Filed 08/10/22 Page 2 of 3


1           Pursuant to Civil Local Rule 6-1(a), Plaintiffs and Defendant, by and through their respective
2    counsel of record, hereby stipulate as follows:
3           WHEREAS, Plaintiffs filed this action on June 17, 2022;
4           WHEREAS, Defendant Meta Platforms, Inc. was served on June 24, 2022;
5           WHEREAS, Plaintiffs filed an amended complaint on July 15, 2022;
6           WHEREAS, pursuant to the parties’ stipulation of July 11, 2022 (Doc. 21), Defendant’s
7    responsive pleading is due August 15, 2022;
8           WHEREAS, Defendant has requested, and Plaintiffs have agreed, that Defendant will have
9    additional time to respond to the amended complaint and will do so no later than September 16, 2022;
10          WHEREAS, the additional time to respond to the amended complaint will not alter the date of
11   any event or deadline already set by this Court’s Case Management Conference Order (Doc. 27);
12          NOW, THEREFORE, IT IS HEREBY STIPULATED by and between Plaintiffs and
13   Defendant, that Defendant will have up to and including September 16, 2022, to respond to the
14   amended complaint.
15          IT IS SO STIPULATED.
16

17   Dated: August 10, 2022                        GIBSON, DUNN & CRUTCHER LLP
18                                                 By: /s/ Abigail Barrera
                                                       Abigail Barrera
19
                                                   COOLEY LLP
20
                                                   By: /s/ Michael G. Rhodes
21                                                     Michael G. Rhodes
22
                                                   Attorneys for Meta Platforms, Inc. (formerly known as
23
                                                   Facebook, Inc.)
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           STIPULATION TO EXTEND TIME FOR DEFENDANT META PLATFORMS, INC. TO RESPOND TO
                                 PLAINTIFFS’ AMENDED COMPLAINT
                                    CASE NO. 3:22-CV-03580-WHO
           Case 3:22-cv-03580-WHO Document 36 Filed 08/10/22 Page 3 of 3


1    Dated: August 10, 2022                       KIESEL LAW LLP
2                                                 By: /s/ Paul R. Kiesel
                                                      Paul R. Kiesel
3                                                     Jeffrey A. Koncius
                                                      Nicole Ramirez
4
                                                        SIMMONS HANLY CONROY LLC
5                                                       Jason ‘Jay’ Barnes (admitted pro hac vice)
                                                        An Truong (admitted pro hac vice)
6                                                       Eric Johnson (admitted pro hac vice)
7                                                       GORNY DANDURAND, LC
                                                        Stephen M. Gorny (admitted pro hac vice)
8
                                                        THE SIMON LAW FIRM, P.C.
9                                                       Amy Gunn (admitted pro hac vice)
                                                        Elizabeth S. Lenivy (admitted pro hac vice)
10

11                                                Attorneys for Plaintiffs
12

13
                                   CIVIL L.R. 5-1(h)(3) ATTESTATION
14
            Pursuant to Civil Local Rule 5-1(h)(3), I, Abigail Barrera, hereby attest under penalty of perjury
15
     that concurrence in the filing of this document has been obtained from all signatories.
16

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     Dated: August 10, 2022                       GIBSON, DUNN & CRUTCHER LLP
18
                                                  By: /s/ Abigail Barrera
19                                                    Abigail Barrera
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           STIPULATION TO EXTEND TIME FOR DEFENDANT META PLATFORMS, INC. TO RESPOND TO
                                 PLAINTIFFS’ AMENDED COMPLAINT
                                    CASE NO. 3:22-CV-03580-WHO
